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               t2cY   3141 (RRMXVS)

               UNITED STATES DISTRICT COURT FOR THE
               EASTERN DISTRICT OF NEW YORK


                FRANCESCO PORTELOS,

                                                               Plaintift
                                        -against-

                CITY OF NEW YORK; NEV/ YORK CITY DEPARTMENT OF
                EDUCATION OF THE CITY OF NEW YORK; DENNIS
                WALCOTT, CHANCELLOR OF NEV/ YORK CITY
                DEPARTMENT OF EDUCATION; LINDA HILL, PRINCIPAL
                9F I.S. 49, IN HER OFFICIAL AND INDIVIDUAL
                CAPACITY,
                                                             Defendants,




                PLAINTIFF'S MEMORANDUM OF LAW IN OPPOSITION
                    TO DEFENDANTS' MOTION TO DISMISS THE
                                 COMPLAINT


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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
                                                            X
  FRANCESCO PORTELOS,

                                                                     12   CV 3 141 (RRMXVS)

                                     Plaintiff
                     -against-

  CITY OF NEW YORK; NEV/ YORK CITY
  DEPARTMENT OF EDUCATION; DENNIS
  WALCOTT, CHANCELLOR OF NEW YORK
  CITY DEPARTMENT OF EDUCATION; LINDA
  HILL, PRINCIPAL OF I.S.49IN FIER OFFICIAL
  AND INDIVIDUAL CAPACITY,


                                     Defendants
                                               -------------x

                PLAINTIF'F'S MEMORANDUM OF LAW IN OPPOSITION TO
                 DEF'ENDANTS'MOTION TO DISMISS THE COMPLAINT

                                   PRELIMINARY STATEMENT

          Plaintiff FRANCESCO PORTELOS, by his attorneys, GLASS KRAKOWER LLP,

  submits this memorandum of law in response to Defendants'motion to dismiss the complaint in

  this action. Defendants' motion should be denied and this matter should be promptly scheduled

  for pretrial discovery and eventual trial.

         Plaintiff, a teacher employed by the New York City Department of Education ("DOE")

  and formerly teaching at Intermediate School 49 ("1.S. 49") in Staten Island, brings this action

  seeking monetary and equitable relief based upon Defendants' violations of 42 U.S.C, Section

  1983 and New York      Civil Service Law      Section 75-b ("CSL S 75-b") as a result   of retaliatory
  actions taken against him as       a   teacher employed       by   Defendants since reporting school




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     administrators, including his school principal Linda Hill, for various allegations of fraud and

     misconduct at the school.

            Defendants' motion to dismiss the complaint should be denied because Plaintiff has made

     a legitimate and plausible First Amendment retaliation claim, as the speech in question was made

     by Plaintiff as a concerned parent and member of the community on a matter of public concern,

     specifically, fraud and misconduct in connection with the school's budget. Further, Plaintiffls

     state law claim, pursuant to CSL $ 75-b, should not be dismissed because Plaintiff has alleged

     sufficient facts to suppoft the claim and has exhausted all his remedies under his applicable

     Collective Bargaining Agreement.

                                                ARGUMENT

                                                     POINT I

                                PLAINTIFF HAS STATED A VALID CLAIM
                                 OF FIRST AMENDMENT RETALIATION

            ln order to prevail on a First Amendment retaliation claim, a plaintiff must    deqnonstrate


     that he engaged in speech protected by the First Amendment, that he suffered an            adverse


     employment action, and that a causal connection between the two existed, "in that tþe speech

     was a substantial or motivating factor for the adverse employment action." Burþbile v' Bd'        of

     Educ. of Hastings-On-Hudson (Jnion Free Sch.            Dist.,4ll F.3d 306,3I3 (2d. Cir.2005).   The

     threshold inquiry in any First Amendment retaliation case is whether the employee was, speaking

     as a citizen on a matter   of public concern.   See Connickv. Meyers, 461 U.S,. 138,147 (1983). In


     determining whether a public employee has engaged in constitutionally protected speech, the

     court must determine "whether the employee spoke as a citizen on a mattei of public concern."

     Woodlockv. Orange Ulster B.O.C.E.S.,28l F. App'x 66,68 (2d. Cir.2008) (quotingGarcettiv.

     Ceballos, 547 U.S. 410, 418 (2006)).


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           A. Plaintiff was speaking as a citizen and not solely in his role as a teacher

           The inquiry into whether an individual was speaking as a citizen "is a practical one."

    Garce¡i,547 U.S. at 424-25. Speech by a public employee retains some possibility of First

    Amendment protection when     it "is the kind of activity      engaged   in by citizens who do not work

    for the government." Id. At 423. Factors that have been considered by courtS, but none of which

    are dispositive, are whether the speech occuned in the workplace; whether the speech concerns

    the subject matter of the employee's job; the plaintiffls job description; the person to whom the

    speech was directed; and whether the speech resulted from special knowledge gained through the

    plaintiffls employmenf. See Garcetti,547 U.S. at420-21; see also Caraccilo v. Vill. of          Seneca


    Falls, 582 F.Supp .2d 390,405 (V/.D.N.Y' 2008)'

           Defendants have made wholly conclusory statements that all of the factual underpinnings

    of Plaintiff s speech became available to him as a result of his role as educator and            School

    Leadership Team ("SLT") member without                 fully   considering these    factors. A   closer


    examination of the facts, however, reveals that Plaintiffls speech was clearly in the nature of       a


    concerned ci|izen on a matter of public concern.

           Beginning in September 2011, Plaintiff began attending SLT meetings at the school. See

    Complaint   t[6.   The SLT is comprised roughly equally of teachers and parents. On December

    13,2011, while Plaintiff was taking minutes for the monthly SLT meeting, he, along with the

    other members of the SLT, learned that Principal       Hill   had submitted the school's Comprehensive

    Education Plan ("CEP") and budget proposal without approval                of the SLT. Id    fl7. After
    researching the Chancellor's Regulations and New York State Education Law, Plaintiff believed



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    thattherewereviolationsregardingtheadoptionoftheCEPandbudgetattheschooL                       ld.lllç.
    For this reason, Plaintiff notified the SLT Chairperson Susanne Abramowitz and United

    Federation    of Teachers ("UFT") Chapter Leader Richard Candia of these violations,         bef   ieving

   that this would be brought to the attention of the appropriate authority. Id.          flï.   However,

   because      no steps were ever taken to rectify or address these violafions, id. fl18, Plaintiff

   subsequently reported these violations to the New York City Office of the SpecialCommissioner

   of Investigation ("SCI") in late January 2012. Id. n2l.

           Contrary to the Defendants' contention, Plaintifls speech was not of the type normally

   made as part of ateacher's official    duty.   Nowhere in his job description was he required to raise

   concerns about the school's budget,         or investigate budgetary misconduct and      inappropriate

   actions by the school's administration. Nor have the Defendants pointed to any specific duties

   of Plaintiff as an employee of the DOE          necessary   to   engage   in such behavior. Thus,     this

   situation is easily distinguishable from the case Ying v. City Univ. of New Yorkcited by

   Defendants, where the plaintiff made complaints that there were underage students enrolled in

   her own class. See      20ll   U.S, Dist. LEXIS 144928 (E.D.N.Y. Dec. 16, 20tl). There, the

   plaintifÎs   speech specifically peftained to an issue involving her own students and classroom. [n

   contrast, Plaintiff s speech involved matters afÍècting his entire school and community.

          Pfaintiff   s speech can be   further distinguished from each supporting authority Defendants

   have cited. His speech did not concern issues for which "there is no relevant citizen analogue,"

   but rather was motivated by his concerhs as a member of the community and parent, and by

   information available to the public. Massaro v. New York City Dep't of Educ., 2012 U.S. App.

   LEXIS 10911 (2d. Cir. May 31,2012) (Ptaintiffs complaints concerned internal safety                  and

   medical absence-related forms, "for which there is no relevant citizen analogue." Further, her



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   complaints concerned her ability to properly execute her duties as a teacher). Neither was

   Plaintiff s speech "part and parcel" of his official duties   as a teacher, as a teacher's duties clearly


   do not encompass reporting on budgetary irregularities. Cf, Matthews v. Lynch,2012 U.S,

   LEXIS 10463 (2d. Cir. May 24,2012) (holding that when a Connecticut State Police offìcer,

   whose official duties as part      of the Internal Affairs Unit         included investigating police

    misconduct, subsequently learned of departmental misconduct in the course of performing his

    investigations and reported this to the state's Attorney General, he was acting within the scope of

    his duties as a public employee); ¡Ross y. Breslin,693 F.3d 300, 306 (2d Cir. 2012) (holding that

   the duties of a payroll clerktypist for a school district who reported financial malfeasance

    plainly included reporting pay irregularities to a supervisor). Plaintiff was not              speaking

    generally as an advocate for his students, nor as an employee as part of his duties, but as a citizen

    concerned about budgetary irregularities and potential misconduct affecting not                just   his

    classroom or school, but the entire community.

           Plaintiff s speech was also not made as part of any official duties as a member of the

    SLT. The SLT is comprised equally of staff       and parents and is therefore not limited to school

    employees. Plaintiff originally joined the SLT because he is a new parent, as well as teacher,

    and wanted to be in a position to make positive changes in his community, like any concerned

    parent. The purpose of the SLT is to create school goals and align them with the budget. The

    meetings are open to the public, and as evidenced by the structure of the SLT, members of the

    community who are not teachers are part of these meetings. Plaintiff s speech was made because

    he was concerned that the $7.7. million budget, which is publicly posted online and derives from

   taxpayer dollars, was not being spent properly. He was not motivated by his duties as a teacher

    or member of the SLT but rath.er as a taxpayer and member of the community,



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            B. Plaintiffls speech involved a matter of public concern

            A   speaker's motive   is not dispositive in determining whether his speech addresses         a

    matter of public concern. Rather, whether or not the speech addresses a matter of public concern

    must be determined by the "content, form and ôontext of a given statement, as revealed by the

    whole record." Sousa v. Roque,573 F.3d 164, 170 (2d. Cir. 2009). Clearly, Plaintiffls speech

    involved a matter of public concern. The content of the speech was misconduct of the school's

    budget, paid by taxpayer money and public funds, matters which clearly aflect the entire

    community. The speech was first to the SLT Chairperson, who could easily have                  been

    approached   by a non-teacher SLT member, and later to SCI, a City agency outside the

   NYCDOE. Nowhere did the Plaintiffs official duties state or even imply that he should take

   such   action.   Cf, Matthews,20l2 U.S. LEXIS 10463. Finally, the context of Plaintiffs speech

   was made as a member of the community concerned about his local taxpayer dollars.

           Based on the above, sufficient facts clearly have been alleged under the applicable case

   law to withstand Defendants' motion to dismiss and to warrant further factual pretrial discovery.




                                               POINT    II
                  PLAINTIFF HAS MADE A VALID CLAIM UNDER CSL 8 75-B

           In order to state a claim under CSL $ 75-b, a plaintiff must disclose a violation of a law,

   rule or regulation that endangers public health or safety, or which he reasonably believes

   constitutes an improper government action,       to a     governmental body, and show     a   causal




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    connection between the disclosure and an adverse personnel action, lhetzel               v. Town of
                                              *35-37 (S.D'N.Y. May 16, 2008)'
    Orangetown, 2008 U.S. Dist. LEXIS 112370,

           Plaintiff has met his burden in bringing this claim. He clearly suffered an adverse

    personnel action, as     he faced an increasingly hostile work environment from                school


    administration after years.of consistently positive praise, Complaint tllg; his personal email and

    website, which he had developed specifically for the school, were suspended, id. 1122; SCI

    investigators came to Plaintiffls school and seized a computer from his classroom as well as to

    his home to seize school equipment that he had been authorized by the school to take home for

    lessons and research,   id. fl23; he received his first ever Unsatisfactory-rated observation reporl,

    id. n24: he has been reassigned from his teaching duties to a reassignment center, despite         no


    disciplinary charges being filed against him, id.126; and his personal email acaount was blocked

    from sending to any NYCDOE email accounT. Id. !f26, Plaintiff brought this to the attention of

    SCI, a non-DOE government body. He has specifìcally alleged violations of the Chancellor's

    Regulations and New        York State Education Law regarding the adoption of I.S.                49's

    Comprehensive Education Plan and budget.           Id. nfl7-18,   Further, there    is a clear causal

    connection between these two, as Principal     Hill specifìcally told Plaintiff that she knew he had

    been inquiring about her per session activities to Superintendent Erminia Claudio, and these

    adverse actions occurred almost immediately after Plaintiff made his protected speech. Id, n22'

           Defendants argue that even      if Plaintiff did raise legitimate   questions or concerns about

    violations of law, there is no indication that he gave the DOE a reasonable time to take the

    appropriate   action, This argument is without merit. There is no strict standard for            what

    constitutes a reasonable time, as indicated by the Defendants' vague and unspecific argument.

    Here, Plaintiff followed the standard SLT procedure by notifying the SLT Chairperson, Susan



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    Abramowitz, of his concerns. He also notifìed his UFT Chapter Leader and parents of students

    at his school, as well as the PTA of the   school.   Id.fll   17-18. At this point, plaintiff rèasonably

    believed that this information would be transmitted to the Principal and any other relevant DOE

    designee. Fufther, this was a time-sensitive matter. The CEP was set to be implemented in

    2012. Because Plaintiff did not become aware of these violations until mid-December, he was

    forced to act quickly. Given the circumstances, Plaintiff provided the DOE with more than

    ample time to rectify or address the situation, but no action was taken.

           Finally, Defendants argue that CSL $ 75-b is inapplicable to the Plaintiff because his

   union's contract afforded him an ample procedural mechanism to challenge the employment

   actions about which he complains. Ptaintiff in fact did pursue these grievances. His Step I

   grievance regarding unwarranted letters in his    file was filed in March 2012,       and denied by his

   Principal. The Step   2   grievance was denied by the Chancellor's representative and failed to

   address Petitioner's retaliation alfegations, His Step    I    grievance regarding the location of his

   reassignment took place on May 8, 2012, and he received a denial letter on June 6, 2012. His

   Step 2 grievance took place on September 20,2012, and he was denied once against on October

   18, 2012. Most recently, he grieved the time he has been in the reassignment center without

   being issued charges on November 16,2012.'CSL $ 75-b applies to those who are not protected

   by a CBA grievance procedure. Plaintiff has not been protected by these grievance procedures

   because they are controlled by the very people who are retaliating against him. CSL g 75-b is the

   only proper mechanism by which he can properly be protected for his whistleblower behavior.




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                                              CONCLUSION

           For the foregoing reasons, Plaintiff respectñrlly requests that the Court deny Defendants'

    motion to dismiss the complaint, order the case to proceed to discovery on all material factual

    issues, and grant such other and further relief as the Court may deem     just and proper. In the

    alternative, Plaintiff respectflrlly requests leave to amend the complaint to provide sufficient

    facts on which relief can be granted.



    Dated: New York, New York
           December 7,2012


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